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                                   STATEMENT OF FACTS
        Your affiant, Jeramie M. Connor, is a Special Agent with the Federal Bureau of
Investigation (FBI). I am assigned to the Louisville Field Office. In my duties as a Special
Agent, I am currently tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.
       Unless otherwise stated, the information in this Affidavit is either personally known to
me, has been provided to me by other individuals, or is based on a review of various documents,
records, and reports. Because this Affidavit is submitted for the limited purpose of establishing
probable cause to support an application for an arrest warrant, it does not contain every fact
known by me or the United States. The dates listed in this Affidavit should be read as “on or
about” dates.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
breaking windows and assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.
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        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.
       As detailed below, during the course of the investigation into the events of January 6,
2021, law enforcement learned that ERIC DOUGLAS CLARK (CLARK) of Louisville,
Kentucky traveled to the District of Columbia to participate in a rally and protest at the U.S.
Capitol and gained entry inside the U.S. Capitol on January 6, 2021.
         On or about February 22, 2021, the FBI received an anonymous tip which included
screenshots of CLARK’s Facebook page where CLARK posted several pictures of his
attendance at the U.S. Capitol. The screenshots contained two photos, one of CLARK taking a
self-portrait while in the Capitol building and another of text messages sent to the tipster
explaining how he has “tons of footage” and how it was “ridiculously easy to get in and they did
not try to stop us like they should have.” See Figures One and Two below.




               Figure One                                    Figure Two
        CLARK posted to Facebook, which your affiant acquired from a separate anonymous
online tip to the FBI, of photos revealing that he was on the Grounds of the U.S. Capitol during
the January 6, 2021 insurrection. See Figures Three, Four, and Five.
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              Figure Three                 Figure Four                  Figure Five


       FBI agents were able to review footage from the Capitol that shows CLARK near the
Senate Wing Door area of the U.S. Capitol building. The footage shows CLARK walking
around inside the Capitol. See Figure Six (outlined in red).




                                    Figure Six
         Shortly before CLARK is observed walking around inside the Capitol, CLARK can be
seen joining the group of people forcibly pushing their way into the Capitol. CLARK was
initially disguised wearing a Guy Fawkes mask. See Figure Seven and Eight (outlined in red).
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                                    Figure Seven




                                    Figure Eight
      I have fully identified the man wearing the Guy Fawkes mask as CLARK of Louisville,
Kentucky. Your affiant was able to view the video from the Capitol as well as the screen shots
from CLARK’s Facebook posts. A screen shot from CLARK’s Viber account shows CLARK
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in the same Guy Fawkes Mask standing next to The George Washington University Statue in
Washington D.C. See Figure Nine.




                                     Figure Nine
        On March 31, 2021, your affiant interviewed a witness from CLARK’s previous
employer, NHK Spring Precision of America. The witness was provided a picture of the subject,
the same picture sent as an anonymous tip (see Figure Two) through the Louisville Metro Police
Department. The witness identified the man as ERIC DOUGLAS CLARK and confirmed
CLARK was a previous employee of NHK. CLARK’s last day of employment at NHK was on
January 5, 2021. He was not fired or let go, he never showed up after the aforementioned
date. CLARK requested his paid time off (PTO) up front before he left NHK. CLARK wanted
to be paid out for the remainder of his PTO time. NHK policy requires two weeks prior notice
before PTO can be paid out. The witness claimed CLARK was very vocal about where he was
going prior to the January 6, 2021 Capitol Hill riots. The witness claimed she saw pictures on
CLARK’s Facebook of the insurrection at the U.S. Capitol.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
ERIC DOUGLAS CLARK violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
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fact, impedes or disrupts the orderly conduct of Government business or official functions or
attempts or conspires to do so. For purposes of Section 1752, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.
        Your affiant submits there is also probable cause to believe that ERIC DOUGLAS
CLARK violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and
knowingly (D) engage in disorderly or disruptive conduct, at any place in the Grounds or in any
of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress,
and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                             _________________________________
                                             JERAMIE CONNOR
                                             SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 26th day of April 2021.
                                             ___________________________________
                                             ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE
